             Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 1 of 16



                          IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                                                                              I   .'
                                                                                                        "'I: 21'l...I
                                                                                                        I....
PLAINTIFF:

                                                                                                       -I

 ANDREW SCOTT WALLACE,
 17770 MILL BRANCH PL.
 BOWIE, MARYLAND, 20716                   )
     y.                                   )
                                          )             CASE No.OKC          1 3 CV 34 73
DEFENDANTS:                               )
                                          1
!. JEFFEREY THOMAS TROST, M.D.                          JURY TRIAL DEMANDED
 22 West Penn Grant Road                                Racketeering Influenced
 WILLOW STREET, PA., 17584,                             -Corrupt Organizations
                                                        (R.t.C.O.)   I   18 U.S.C. ,1962(c)
~. WILLIAM VOLLMAR, II., M.D.,
  203 Commerce Drive, Suite G.
  Quarryville, PA., 17566

J. STEPHEN G. DIAMANTONI, M.D.
 2112  Harrisburg Pike, Suite 3
 Lancaster, PA.,    17602

!. DIAMANTONI & ASSOCIATES,
  Family Practice, P.c.,
 2112 Harrisburg Pike
 Lancaster, PA.,         17602

~. JAMES M. EllA, M.D.,
   11 SOUTH STREET
  Ephrata Township,PA.,           17522

~. STEPHEN WILLIAM WILEY,
1104 Hempfield Drive
Lancaster, PA. 17601
I.WILEYS PHARMACIES
112 Townsedge Drive
Quarryville, PA.,       17566

!!. ANNETTE WALLACE,
 613 California Avenue
 Rose Haven, Maryland,            20714

2.. , 10., JOHN OR JANE DOE(S)                (Cover)
        Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 2 of 16




                                      I. JURISDICTION

 This Court has Statutory Jurisdiction by Title 18, U.S.c. 1962 [c]. (R.Lc.a) This Court has-

Personal Jurisdiction, or Diversity by Title 28, U.S.C-1332, as at least one Defendant resides in

and is a Citizen of the State of Maryland.      ather Jurisdictional support is found in- "ILVENUE".



                                         II. VENUE

 Some of the predicate acts charged against the named Defendants of the instant lawsuit

"Pennsylvania     Defendants" involved events that occurred         across State lines from State of

Pennsylvania over into State of Maryland. (SEEITEMS-# 24- -lQ, infra.) and Footnotes-*6, *7.

Plaintiff is a Citizen of Maryland.    Venue of Maryland District is thus appropriate     to this cause



                                        III. STANDING

  The enterprise formed by the defendants of the instant Civil action are charged by the

 plaintiff for the purposes of R.Lc.a., with at least Two Predicate Criminal acts in furtherance

 of the alleged conspiracy, (inter alia) including violations of Pennsylvania Code Title 18, -

 sections 3921, 3927.-Embezzlement,PA.,18        ,2709 -Harrasment, -Title 18, United States

  Code, Section 3295, ARSON, consecutively           with State of Maryland Code Sections - 2-205,

- (Attempted    Murder).


   The attached     EXHIBITS,A, and in particular,- Exhibit-"!!",    both documents here being

  Exhibits from     officers of the Pennsylvania Courts and Maryland Courts, respectively,        are

  here attached in support.


                                               (i)
             Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 3 of 16



                                 IV. STATEMENT OF CASE
  1. The named defendants did willfully and criminally conspire and confederate to form a
 criminal enterprise ,and continued in furtherance of a Racketeering Influenced Corrupt Organi-
 -zation-(R.I.C.O.) to cause the financial ruin of the Plaintiff, Andrew Scott Wallace.

 2. Starting in year 1999, Plaintiff, his two sons and his then wife and business partner, Annette

 Wallace, began regular Doctor visits to the Medical Offices of Defendant DIAMANTONI AND

 -ASSOCIATESFAMILY PRACTICE,P.C., of Lancaster, Pennsylvania, and included                                    Dr.(s) Gerstein

  and here named Defendants,-Stephen                   G. Diamantoni,M.D.,           James Elia, William Vollmar II.,

  -.M.D. and JEFFREYTHOMAS TROST,M.D.
                                           *1.
 3. Plaintiff's Company, AMISH BUILDERS,a profitable company with locations in Three States,

 was solely owned and operated by the Plaintiff and his Wife, Annette. Their profit was their

  pay, which company generated some $500,000.00 (Five Hundred Thousand) in annual profits.



 4. At some point in the continuing Doctor visits to Diamantoni and Associates Medical Offices,

 Defendant Dr. Jeffrey Thomas Trost, initiated and induced the Plaintiff's Wife and business

  partner, Annette Wallace, into an illicit Sexual Relationship with himself, where such affair

  was continued outside and within the Medical Offices.

                                                                                      *2.
  5. Defendant Dr. Trost plied his female patient/victims,                    including the Plaintiff's wife, Annette-
                                                                                                  *3
 Wallace, with unlawfully prescribed prescription drugs in aid of his seduction methods. In-

 addition defendant Dr. Trost also allowed the Plaintiff's Wife the use of Alcohol along with

 the illegally prescribed prescription drugs and narcotics, both outside and within the ostensibly

 respectable facade of the Medical offices of Diamantoni and Associates.
                                            (1.)
Footnote *1: Plaintiff's then accountant, Luke Beiller, estimated Amish Builders worth at approx. $6,000,000 -Six-Million Dollars.
Footnote *2: There were other female patient-victims of Defendant Dr. Trost, for which Plaintiff expects to call as witnesses.
.Footnote *3: Plaintiff retains document evidence to support this fact, although Defendants have caused the unlawful -
destruction of Plaintiff's Wife, Annette Wallace' Prescription History at Defendant Stephen W. Willey's- Willeys Pharmacy.
           Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 4 of 16



                                   IV .STATEMENT OF CASE,Con'd

6. In early 2003, Plaintiff actually became aware of the fact of a sexual relationship between

Defendant      Dr. Trost and the plaintiff's wife, Defendant Annette Wallace, had been ongoing

since 2002.    Plaintiff then soon confronted   Dr. Trost in February, 2003, in the medical offices

of Diamantoni     and Associates and demanded          that the sexual affair between him and

plaintiff's wife and [business-partner]   cease and desist.



7. During the confrontation   in item # 6, supra, Defendant Trost at first denied any such sexual-

relationship   existed, then admitted same-and assured the Plaintiff that he would end the

affair.   However,    Doctor Trost did Not honor the verbal agreement, but continued sexual-

relations with plaintiff's wife, Annette Wallace, in continued violation of his Medical Oath and

American Medical Association-(AMA)        directives prohibiting   sexual relations with patients



8. On or about 4/172003, Plaintiff was examined for a physical at Diamantoni         & Associates

Medical offices by Defendant Dr .James Elia, and confided to Dr.Elia that Diamantoni Associate

Dr. Trost was having Sex with his Wife, Annette Wallace. At first Dr.Elia said he did Not believe

the truth of it. However, a few days later on April 21, 2003, Dr. Elia called Plaintiff and informed

him that yes, in fact he was aware of his colleague, Dr Jeffrey Thomas Trost's. Sexual escapades

and in fact, Dr. Trost had had sexual relationships with other female patients in the past.

  In this way, Dr. Elia did, while acknowledging in a medical report of Diamantoni        & Associates

the extreme stress the Plaintiff was under at that time, neglect his Duty by Medical Oath and

(AMA) directives to report and/or confront the bad-Behavior of Dr. Jeffrey Thomas Trost,

thus did otherwise Conspire to protect Defendants Dr. Trost and Diamantoni           & Associates.
                                                (2.)
            Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 5 of 16



9.. On December 22, 2003, Plaintiff personally confronted           Defendant Dr. William Vollmar,lI

at Medical Offices of Diamantoni & Associates, Lancaster, Pennsylvania, and informed Vollmar

that Dr. Jeffrey Thomas Trost was having an continued sexual relationship with their patient,-

plaintiff's wife -Annette Wallace, and requested his intervention          and assistance in stopping

the sexual relationship     between    his colleague, Dr. Trost and the plaintiff's wife.



10.. (Incorporating   Item #8 9" supra, as if fully re-written),    Instead of offering   assistance, as

was    Dr.(s)-Elia and Vollmar's Duty owed to their patient-         Plaintiff Andrew Scott Wallace and

his wife,   Annette Wallace, (as much to their two children) Dr. Elia did by ommission and ne-

-glect, fail to assist the Plaintiff, while Dr. Vollmar defended Dr. Trost's misconduct by denying

 Dr.Trost's    Bad (Sexual)-behavior ever occurred. Then called the Plaintiff-"crazy"         while he

telephoned     Security for Diamantoni and Associates and had the Plaintiff/patient          removed from

the Medical Offices.       Defendant Dr. Vollmar then called the Plaintiff's wife, Annette

Wallace and told her that plaintiff -"Was Not welcome" at Diamantoni and Associates as

 patient or otherwise anymore, but that she was still welcome to be a patient.



 11. (Incorporating   items No # .a,~,10,as if fully re-written):     In this way.in violation of Defendant

 Dr.- William Vollmar 1I.,'s Medical Oath and American- Medical Association Directives

 prohibiting    sexual relations among Doctors and Patients, Dr. Vollmar           did knowingly and

 willfully fail in a duty to the plaintiff, thus did facilitate,    assist, cause and allow the Sexual

 Misconduct and       related criminal acts of unlawful prescribing of controlled substances of his

 colleague and business associate, Defendant Dr. Jeffrey Thomas Trost to continue with the-
                                         (3.)
                 Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 6 of 16



 --Plaintiff's wife, Annette Wallace, in violation                  of State and Federal Law (inter alia) of Sections

 of Titles 18, and 21., United States Code.



12. Doctor William Vollmar II, also admitted on Page 35 of his legal deposition he would later

 be subpoenaed to give in Divorce proceedings of the Plaintiff," - Annette Renee Wallace V.-
                           *4
 Andrew Wallace", that "precriptions                   may have been filed under his name" for the plaintiff's

 wife Annette Wallace -although he was Not her physician and had not been treating                                       her".



 13. (Incorporating         items No(s). 8,9,10,11&12, supra, as if fully re-written),                   Defendant Vollmar-

thus did act to conspire with Defendant Dr. Jeffrey Thomas Trost to form an enterprise with

 Dr. Elia and Dr. Trost to the greater harm of the Plaintiff and his business, Amish Builders,

protect the defendant Diamantoni                    & Associates, where Diamantoni and Associates offered-

the safe haven and facilitation                 for the conspiracy of Dr. Trost and Vollmar to continue against

the Plaintiff and Dr .(s) Elia, then Vollmar did act to cover up and conceal the misconduct of

 Defendant        Dr. Trost,      where such misconduct               ultimately was the proximate cause of the

financial ruin of the Plaintiff,               and together they conspired           to defend, cover up and conceal-

 unlawful acts in furtherance                  of a (R.I.C.O) Conspiracy.



14. Approx. Two-years afterwards of the confrontation                          between Plaintiff and defendant Dr.-

Trost in 2003, (Item # Q,supra) and the Plaintiff learned from plaintiff's                            neighbor and witness

who informed him in May, 2004, that in fact,                          Not only did Dr. Trost fail to end the sexual re-

-Iationship      with Plaintiff's wife and business partner, Annette Wallace, as he promised in Item

- #7 ,supra,       but when as the Plaintiff was away working,                     Defendant Dr. Jeffrey Thomas Trost             u




                                                  (4.)
Footnote   #4: Annette   Renee Wallace   VS.   Andrew Scott Wallace, No. 04-C-05-000614   DL, Calvert County, MD., January 24,2006.
              Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 7 of 16



-- was attending     extra-curriculum    visits to the plaintiff's wife and business partner,   Annette

Wallace, at the Plaintiff's Home, in (PA), that home being also the main office of Amish Builders.



15. (Incorporating     Item # 14, supra) , On at least one occasion of Defendant Dr. Jeffery Thomas

Trost's visit to plaintiff's   Home and Business Office of Amish builders, the visit of their Doctor,

Jeffrey Thomas Trost, M.D.,was witnessed by Plaintiff's son Michael Wallace and Christopher-

Wallace, who were locked in their room by Dr. Trost, according to the personal recollection and

statement of witness/son of Plaintiff, Michael,          he was necessitated to "pee in Cup", as he wasn't

allowed to leave the room for "the time of watching           a movie" while Dr.-Trost was there visiting

 their   Mother, "Mother       being Annette Wallace, wife and business partner      of the Plaintiff.

                                              ANNETTE    WALLACE

16. During the continued SEXUALrelationship and ADULTERY between Defendant Dr. Trost and

plaintiff's wife Annette Wallace ,who was plaintiff's business partner in family owned business,

Amish Builders, now named Defendant Annette Wallace did, while operating the business fail to

properly account for income and expenses of the business resulting in the economic failure of the

business and by failure to file necessary and required personal property returns, sales tax returns

and income tax returns for the business, thus by Embezzlement caused a debt of some $650,000

, (Six Hundred Fifty- Thousand Dollars), while Defendant Dr. Trost plied Annette Wallace with

alcohol and both Trost and Dr. Vollmar II,. unlawfully prescribed plaintiff's wife and business

partner Annette Wallace with prescriptions for dangerous drugs and narcotics in mixture of the

alcohol during his continued seduction and sexual rendezvous with her. Then both Trost and

Annette    Wallace Conspired and received a portion of the proceeds of the Embezzled Funds -

from-Amish      Builders for- Vacations, Football Games, Hotels and Casinos.
                                                  (5.)
                 Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 8 of 16



17.. (Incorporating      items #7,8,9,10,11,13,14-15      &16, supra, as if fully re-written)   ,Defendants-

Dr.(s)-Elia, Vollmar, Trost and Diamantoni & Associates continued a criminal enterprise in cons-

-piracy to cause the financial ruin of the plaintiff and his profitable company, Amish Builders.



18. Plaintiff,    after confronting   Doctors,Trost and Elia and Vollmar with the Sexual indiscretions

of Trost, without avail of assistance of the ceasing of the continued seduction, drugging and

sexual- relations of his wife, Annette Wallace, plaintiff (again) personally went to the medical

offices of-Diamantoni       and Associates and then confronted        Defendant Stephen G. Diamantoni,

M.D., and requested his assistance and intervention           with the continuing Sexual-Indiscretions       of-

his colleague      Dr. Trost with plaintiff's    then wife, Annette Wallace and also informed Dr.-

Diamntoni that the Adulterous sexual relationship was destroying plaintiffs               business.

 Instead of offering assistance in the matter, as was his Duty,           Defendant Dr. Diamantoni told-

plaintiff that "It was none of his Business" , threatened to "sue" the plaintiff and further de- -

-manded that plaintiff leave the offices, for which plaintiff complied.



19. (Incorporating     as if fully re-written,   items 1-18, supra), in this way, defendant Dr. Stephen G.-

- Diamantoni,M.D.,        by failure of his duty, did violate his Medical Oath and American Medical-

- Association-(AMA)-directives         requiring him to report or intervene in prohibiting      the sex of

Doctors with patients.       Specifically, the adultery and sexual indiscretions and unlawful prescribing

of controlled substances by Dr. Jeffrey Thomas Trost with the plaintiff's wife and business part-

-ner Annette Wallace. Dr. Diamantoni then and there joined the conspiracy with the enterprise

formed by Dr.Elia, Dr.Vollmar II, Dr. Trost and Diamantoni & Associates, to cover up, conceal-

and otherwise hide the criminal and unethical sexual acts of Dr.- Trost with patient Annette--
                                             (6.)
               Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 9 of 16




-- Wallace and retaliate against plaintiff, Andrew Scott Wallace which did cause the economic-

failure and loss of plaintiff's-   profitable business, Amish Builders.   All in a racketeering   influen-

-ced corrupt organization conspiracy scheme to "damage control"           the bad behavior of Dr. Trost.



                              STEPHENW. WILEY,- WILEY'S PHARMACIES

  After Divorce proceedings were filed in 2005 between Plaintiff Andrew Scott Wallace and his

wife and business partner in Amish Builders, both here named Defendant Doctors Dr.(s) Trost-

and Vollmar II,M.D.,s were subpoenaed January 24,2006 to depositions in that case. In the

Circuit Court for Calvert County, Maryland, in case No. 04-C-05-000614 DL, "Annette Renee-

Wallace vs. Andrew      Scott Wallace. (Re-asserting item #12, supra, as if fully re-written),    Doctor

Vollmar    there admitted on record that His Name "may have" appeared on certain prescriptions,

-(written to Annette Wallace)-although       he was not her physician".   Defendant Dr. Trost admitted

in his personal deposition same day of January 24, 2006, that he prescribed "aprozalam"           , (which-

 is a controlled substance otherwise      known as "Xanax") to the plaintiff's   then wife, Annette-

Wallace.       Defendant Dr. Trost further   testified   that he permitted Annette Wallace to bring-

- Alcoholic Beverages into the Medical offices of Diamantoni         & Associates, and that they both

consumed       Alcohol during their sexual rendezvous, on "several occasions" .

21. Immediately after the Divorce proceeding deposition, plaintiff went to Wiley's Pharmacy

in Quarryville, Pennsylvania, with his attorney, Annette Decesaris ,to demand Annette Wallace's

prescription    history there at Wileys. The request was made for the purpose of proving that-

both Defendants Dr.(s) Trost and William Vollmar II did prescribe Annette Wallace dangerous

drugs at time when the defendant Trost claimed Annnette Wallace was no longer a patient and-
                                           (7.)
              Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 10 of 16



-- that Dr. Trost otherwise wrote plaintiff's wife and business partner a number of dangerous-

narcotics over a period of years while sexually seducing her. Thus defendants Trost and Vollmar

engaged in criminal activity together by such acts that physically and mentally compromised and

 incapacitated the plaintiff's business partner,Annette Wallace, in violation of sections of Title 18

& 21, United-States Code, in furtherance of a racketeering Conspiracy, being the proximate cause

of the economic failure of plaintiff's profitable business, Amish Builders.

22. Stephen William Wiley was the pharmacist in charge on that day of January 24, 2006, and

here named Defendant Stephen W. Wiley then admitted to plaintiff and his lawyer, Annette

Decesaris, that in fact the pharmacy had No Records of any prescriptions prescribed or filled to-
                                                                *5
- Annette Wallace, as they had been-/fDestroved".



23. (Incorporating       items # g16,        20-22 supra, as if fully re-written), Defendant Stephen William-

Wiley did, (inter alia), Obstruct Justice to the plaintiff               by willfully destroying or by intentionally-

causing to be destroyed, the plaintiff's wife and business partner -Annette Wallace's medical

prescription      records at Wiley's Pharmacies, at the request of Dr.- Jeffrey-Thomas Trost, and

William Vollmar II, M.D. and thus did assist the enterprise formed by the Defendants Dr.{s)-

James Elia, Jeffrey Thomas Trost, William Vollmar II, Stephen G. Diamantoni and Diamantoni &-

Assoc. and by criminal act(s) William Wiley and Wiley's Pharmacy did join the other defendants

-in furtherance of a conspiracy to cover-up and "damage control" the unethical Sexual- relations

of Dr. Trost and the criminal acts of the defendant Doctors Trost and Vollmar II prescribing of-

dangerous drugs over a period of years to Annette Wallace, to the ultimate financial ruin of-

the plaintiff's     profitable    company, Amish Builders, all in violation of Title 18 U.S.c. 1962(c).
                                                  (8.)
Footnote*5: Plaintiff intends to subpoena Blue Cross/Blue Shield Insurance records to prove the allegation.
                  Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 11 of 16



24.0n or before December 23, 2006, in a continuing criminal Enterprise in furtherance of a

 Racketeering Influenced Organization Conspiracy, Dr. Jeffrey Thomas Trost, a Lancaster,

Pennsylvania citizen hired an Arsonist                            to set fire to the plaintiff's house located at 2060 Lowery
                                                             *6
 Oaks lane, Huntingtown, Maryland. and the plaintiff's house at that location was burned to the

ground and completely destroyed by the fire, on December 23, 2006.



25. (Incorporating               item No.s #-24, as if fully re-written) , Defendant Dr.. Jeffrey Thomas Trost
                                                                                                 *7
 and coconspirators resorted to a crime of State and Federal Arson and Attempted Murder in-

 retaliation for plaintiff's personally informing of Dr. Trost's wife of Trost's Sexual                                                   Relatonship

-between Defendant Dr. Trost and plaintiff's wife and business partner, Annette Wallace, and

plaintiff's informing Dr. Trost's wife that he-(plaintiff) would file complaint with the Medical-

 Ethics Board to-request the revocation of Dr. Trost's Medical license.

26. (Incorporating items 24,25 as if fully re-written), Plaintiff's (then former) wife and business

 partner, Annette Wallace called the plaintiff, Andrew Scott Wallace, on December 24,2006 and

 informed him that Dr.-Jeffrey Thomas Trost had called her same day of December 24. 2006,-

 Christmas Eve, and that Trost had "wished her a Merry Christmas" and made threats against-

 Plaintiff.      Specifically, plaintiff was told via telephone by Annette Wallace that here named

Defendant, Dr. Trost said-:(Quote)-" .../lthat it was Good thing that {Mr. Wallacel was Not Home-

-at the time        of the Fire/l and-/lthat it was No Coincidence that a strange Black Man was found-
                                                                                    ~
 -roaming around (Mr. Wallace's) neighborhood when the house burned down I/(End quote).
                                            (9.)
Footnote    6:- "2060 Lowery Oaks Lane, Huntingtown,              MD. was the main office of Amish Biluders         .
Footnote     7:"Federal     crime of- Arson"-18.USC-3295.         Hiring an Arsonist across State lines was a predicate        criminal    R.I.C.O. act
committed     Inter-state     and affecting   Interstate   commerce
 Footnote *8: Call from Trost to Annette            Wallace as in item # 26 from Pennsylvania         to Maryland       by Dr.Trost,"lmplied     Death-
threats"   constituted      State and Federal predicate     criminal   acts under-R.I.C.O.   as made in violation       Federal telecommunications
statutes sections of Title 18 U.S.c., as the burning itself was "attempted             murder"   in violation   of MD. CODE-Sections 2-205.
                Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 12 of 16



                                              IV. STATEMENT OF CASE, Con'd



27. Plaintiff did since year 2006, continue                    to file complaints against Dr. Jeffrey Thomas Trost,

citing the unethical sexual seduction of plaintiff's wife and business partner, Annette Wallace, to

 the Pennsylvania State Board of Medicine, Medical Ethics- Board, Pennsylvania District Attorney's

Office and the Governors Office, in 2006, 2008 and 2009, to no avail of assistance on those

 Administrative        levels.

   However, these administrative                complaints by plaintiff did not stop the retaliation     by the

 enterprise formed by Defendants Dr. Trost, Annette Wallace                         Dr. James Elia, Dr. William

Vollmar,lI,     Stephen G. Diamantoni,              Diamantoni      & Associates, Family Practice, P.c., and later

joined by Steven W. - Wiley and Wiley's Pharmacies in conspiracy by Defendants to protect and

damage control the unlawful acts and unethical Sexual activities of Dr. Trost with his female-

patients and patients of Diamantoni and Associates, as much as their efforts                       to damage control

the fact of Dr. Trost's and Vollamr, II's unlawful prescriptions writing                   and Annette Wallace's-
                                                                               *8
sharing of proceeds of Annette Wallace'                        Embezzlement of some $650,000 in funds from Amish-

- Builders, with Dr. Trost.



28. (Incorporating         items Nos 1-27 as if fully re-written)           Plaintiff received letter from Defendants

and coconspirators,-             Dimantoni and Associates and Dr. Trost' Attorney David F. Wedge ,dated-

October 12, 2007 , which promoted                    an agenda of the enterprise, being Intimidation       of the

plaintiff by unlawful Telephone Harassment and using The United States Mails. (SEEATIACHED, -

-EXHIBIT-NAN)                                                      (10.)

Footnote   *8: "Embezzlement",    Refer to Item # 16. supra.
           Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 13 of 16



29. (Incorporating   Items No.s 24-28 as if fully re-written),    Plaintiff's Atty. Annette DeCesariswas

obliged to forward off a response letter to Diamantonii & Assocaiates and Dr. Trost's lawyer-

- Wedge, dated October 24,2007. This plaintif(Attorney           letter shows the concern of Attorney-

Annette DeCesaris of the "threats made against my clients life" and where this letter included the

Statement made by Trost during the Phone Call made by Dr.Trost to Annette Wallace concerning

the fire that burned the plaintiff out of his home.     (Arson-and attempted Murder).



30. On or about May, 2008, Plaintiff was frustrated with the inaction of State Government-

agencies of his complaints of the unethical activities of Dr. Trost, et.al. as described supra.,

resolved to attempt to obtain some modicum of Justice in this matter, by designing a

Website, "MY- DOCTORHAD SEX-WITH MY WIFE. COM., which exposed the facts of Dr.Trost's

unethical sexual affair with my wife, Annette Wallace.

    In retaliation of plaintiff's Website, Defendant Dr.Trost vindictively made a false police report

against the plaintiff claiming with Lancaster, Pennsylvania Police, that plaintiff had vandalized his

automobile.   Plaintiff was unduly harassed by Police. The police quickly determined that Dr.-

Trost's accusation was unfounded. Soon afterwards of the failed filing of the false report event,

plaintiff received threatening   telephone calls at his home from an unknown male who again-

threatened to "Burn the plaintiff's house down", then hung up.



31. In a pattern of criminal activity consistent with the enterprise' formation      here named-

Defendant Dr. Trost again vindictively called Lancaster, Pennsylvania police on December 25,-

2009, and again designed to falsely report that plaintiff Andrew Scott Wallace had "stolen his-

                                                (11.)
             Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 14 of 16



--(Dr.Trosts)   electric meter" from Dr. Trost's home.

        Plaintiff was again unduly harassed by questioning from Lancaster, PA., Police following

up on Dr. Trost's false accusations. In this event, plaintiff hired an attorney who produced a

sworn statement from the plaintiffs       employer at that time, that positively proved that plaintiff

Andrew Scott Wallace was in fact working out of State on the exact date Dr. Trost had falsely

claimed that the plaintiff had stolen his electric meter. Plaintiff was thus exonerated.

       Again soon within a week after plaintiff was exonerated of the newest accusation, the

plaintiff again received a threatening     phone communication       at his home causing the plaintiff to

remain in fear of his life, where again an unknown male threatened Arson of the plaintiff's           home,


then quickly hung up.



 32. (Incorporating    items #26.-31, as if fully re-written),   In this way, The defendants Dr. Trost,et.al

committed       the crime of Harassment, in violation of 18 PA.-CODE Section 2709,(4)(5)(6), while

making a Terrorist Threat in violation of PA.- Cons.Stat.2706, while threatening           Arson and-

Attempted-      Murder.



33. On November 2, 2012, filed a legal complaint seeking damages against Jeffrey Thomas Trost,

William Vollmar,II,M.D.,     Stephen G. Diamntoni,        M.D. and Diamntoni and Associates, under a

different theory of liability than the instant R.I.C.O. action, in the Calvert county, Maryland Court,

that continued through that State then Federal Courts, that has been now lodged by the Defen-

-dants by their action, using as vehicle, a "Pracepie" in the Lancaster ,Pennsylvania Court of-

Common pleas.



                                                  (12.)
            Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 15 of 16



                                      IV. STATEMENT OF CASE,Con'd




34. Citing Extraordinary events continuing in Conspiracy against him by the Defendants,           Plaintiff-

-originally requested to his former wife and business partner in Amish Builders- (Now named-

- Defendant)-Annette    Wallace, to file as Plaintiff with him against her former Doctor(sLand in

particular- Defendant Trost,(et.al)     even as Plaintiff asserts that overwhelming
                                                                                                 .
                                                                                       Proofs-Positive


exist by document evidence of Amish Builders business records (inter alia) to prove the facts of-

this complaint as to the allegation of (inter alia)- Embezzlement     leveled against her (Wallace) and

Dr. Trost et.al. here can be unequivocally proven true.



35. (Incorporating   items 1-35 as if fully re-writtenL   Plaintiff charges that Defendant Annette-

Wallace (Grey), continues to be in close contact with co-conspirator,      Defendant    (Jeffery Thomas

Trost, M.D.) by regular telephonic communications,        to mitigate, cover up and otherwise continue

in the same Conspiracy with others to damage control the revelation by plaintiff of the factual -

events of the Economic collapse and Embezzlement of his companYAmish             Builders, for which

Trost received portion of proceeds of said embezzlement.         Plaintiff will produce witness and-

document evidence to show that this conspiracy continues against him, by threats of Arson which

continue to be made by- Defendant Trost to his co-conspirator         Annette   Wallace, to also Burn-

down her house, likewise as caused by Trost, et.al., to the plaintiff's house in year 2006, should-

she decide to testify in plaintiff's favor.




                                                (13.)
           Case 8:13-cv-03473-DKC Document 1 Filed 11/19/13 Page 16 of 16



                                          V. CONCLUSION


 In conclusion, the named and unnamed Defendants did, while having formed an enterprise to

damage control of Dr. Jeffery Thomas Trost's- Sexual Affairs of his and Diamantoni             & Associates

female patients, including the plaintiff's      former wife and business partner in Amish Builders, -

Defendant Annette Wallace, who embezzled business funds from Amish Builders, a once profit-

-able company that worked in and affected           Interstate commerce, for which Defendant Trost

received portion as unlawful income,         did participate in criminal acts in a organized    pattern of

criminal racketeering    activity, all in violation of Title 18 U.S.c. 1962 (c).

                                             VI. RELIEF

       AMISH BUilDERS, a profitable company economically depleted by the above described

      criminal acts of a racketeering influenced corrupt organization, was determined            by the

      Company's accountant, Luke Beiler, in fiscal year Dec. 2004 -November 22, 2005, to be

      worth an estimated $6,049,028.92

               As R.I.c.a. Statute. Et.seq. Allows for treble damages, the plaintiff demands

      And the Defendants are hereby sued individually and collectively for in the Amount-


                     af-$18,147,088,76.
        (Eighteen Million, One Hundred Forty Seven Thousand, Eighty eight-
         -Dollars and Seventy Six cents).

       The above facts of this complaint are sworn true by the best of my personal
         knowledge, under penalty for perjury under the Constitution and laws of the United -
        -States, Tilte 18, USC 1621, & 28 USC1746.


                        This    /'1 Day of ;Uvf"~,                    2013,

                               By-lsi ~       ..d..vb--rfih•-•.----
                                  ANDREW scan       WALLACE, Plaintiff, Pro-Se.
                                                  (14.)
